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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 ______________________________________________

JENNIFER KOSMAS, on behalf of herself and all
others similarly situated,

                          Plaintiff,
                                                             Case No. 1:22-cv-10552-DPW
               v.

NEXSTAR MEDIA GROUP, INC.,

                          Defendant.


      STIPULATION FOR EXTENSION OF TIME TO ANSWER OR RESPOND TO
                        PLAINTIFF’S COMPLAINT

       Plaintiff Jennifer Kosmas (“Plaintiff”) and Defendant Nexstar Media Group, Inc.

(“Defendant”) (collectively, the “Parties”), through their undersigned counsel, hereby stipulate

and jointly move for an order extending Defendant’s time to file an answer or otherwise respond

to the Complaint.

       The Parties agree good cause supports this Motion, and stipulate that, WHEREAS:

   1. On April 13, 2022, Plaintiff filed the Complaint in this action against Defendant;

   2. On April 15, 2022, Defendant was served with the Complaint;

   3. Defendant’s current deadline to respond to the Complaint is May 6, 2022;

   4. This stipulation is for an extension of time to respond to the Complaint; and

   5. There have been no previous extensions of time for Defendant to respond to the

       Complaint in this matter.

NOW THEREFORE, it is hereby stipulated, and the Parties respectfully request, that the Court

order that:


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   1. Defendant’s deadline to respond to the Complaint is extended to June 16, 2022.

  Dated:       May 3, 2022             Respectfully Submitted,

                                       NEXSTAR MEDIA GROUP, INC.

                                       By its counsel,


                                       /s/ Nathaniel Mendell
                                       Nathaniel R. Mendell

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  Agreed to by Counsel for
  Plaintiff:

  /s/ Jonathan Jagher
  Jonathan M. Jagher

  Jonathan M. Jagher
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  Kosmas




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                                    [PROPOSED] ORDER

       Pursuant to stipulation, and for good cause shown, IT IS HEREBY ORDERED that

Defendant’s time to serve and file an answer or response to the Complaint shall be extended to

on or before June 16, 2022.



  IT IS SO ORDERED.



  Dated:                      By:
                                    Hon. Douglas P. Woodlock
                                    U.S. District Judge




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 3rd day of May 2022, I caused a true and correct copy of the

foregoing document to be electronically filed with the Clerk of the Court using the CM/ECF

system, which sent notification of such filing to all counsel of record, pursuant to Local Rule

5.4(C).

                                        /s/ Nathaniel Mendell
                                        Nathaniel R. Mendell
                                        Counsel for Defendant Nexstar Media Group, Inc.




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